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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
              v.                                  :   Case No: 1:21-CR-86-PLF
                                                  :
ROBERT SANFORD                                    :
                                                  :
       Defendant.                                 :

                                   JOINT STATUS REPORT

   The parties respectfully submit this Joint Status Report setting forth their respective views on

whether the plea hearing scheduled for September 8, 2022, at 2:00 p.m. should proceed virtually

or in person. On September 1, 2022, the parties met and conferred as directed by this Court’s

August 31, 2022, minute order, however, the parties did not reach an agreement.

   The government’s position is that the hearing should be held in-person because it intends to

request that Mr. Sanford be taken into custody pursuant to 18 U.S.C. § 3143(a)(2) which is

referenced in paragraph 8 of the plea agreement letter.

   On the other hand, Mr. Sanford prefers to conduct the hearing virtually because he resides in

Pennsylvania. Furthermore, it is unnecessary to take him into custody. Mr. Sanford has

complied with the terms of his release. Also, if taken into custody, he will likely be transferred

to a facility outside of D.C.

   Wherefore, the parties respectfully submit this Joint Status Report setting forth their

respective views on whether the plea hearing scheduled for September 8, 2022, at 2:00 p.m.

should proceed virtually or in person.



Filed: September 2, 2022.
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                                                           Respectfully submitted,

                                                           Robert Sanford


                                                           By: /s/ Andrew M. Stewart        .
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of September, 2022, I electronically filed the
foregoing motion with the clerk of the court using the CM/ECF system, which will send an
electronic copy to the following:

Janani Iyengar
Assistant United States Attorney
U.S. Attorney’s Office, Eastern District of Virginia
555 4th Street, NW
Washington, D.C. 20001

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